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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA



 UNITED STATES OF AMERICA,
                                               1:14-cr-00015-JAJ-RAW
              Plaintiff,

    vs.

 MELISSA NICOLE GALLARDO,

              Defendant.


  REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY
                   (PLEA AGREEMENT)

             The United States of America and the defendant, having both

filed a   written consent         to conduct of      the plea proceedings by a

magistrate judge, appeared before me pursuant to Fed. R. Crim. P. 11

and LCrR 11. The defendant entered a plea of guilty to Count 1 of an

Indictment which charged her with conspiracy to distribute a mixture

or substance containing methamphetamine,                 a    Schedule   II    Controlled

Substance,    in violation of       21     U.S.C.   §§   846,    841 (b) (1) (C).      After

advising and questioning the defendant under oath concerning each of

the subjects addressed in Rule ll(b) (1), I determined that the guilty

plea was in its entirety voluntarily, knowingly and intelligently made

and did not     result     from   force,    threats,         or promises      (other    than

promises in the plea agreement) . I further determined that there is a

factual basis for the guilty plea on each of the essential elements of

the offense(s) in question. A plea agreement was disclosed at the plea

proceeding and defendant stated she understood its terms and agreed to
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be bound by them.           To the extent the plea agreement is of the type

specified     in     Rule    11 (c) (1) (A)    or        (C)   defendant   was    advised   the

district     judge    to whom the        case       is     assigned may accept       the plea

agreement, reject it, or defer a decision whether to accept or reject

it until the judge has reviewed the presentence report as provided by

Rule ll(c) (3) (A).         To the extent the plea agreement is of the type

specified in Rule ll(c) (1) (B) defendant was advised by the Court that

defendant has no right to withdraw the plea if the Court does not

follow a recommendation or request in question.

             I recommend that the plea of guilty be accepted and that the

defendant be adjudged guilty and have sentence imposed accordingly.

A presentence        report     has   been ordered                                proceedings

scheduled.

                                          UNI                                    JUDGE



                                          DATE

                                              NOTICE

             Failure by a party to file written objections to this Report and
Recommendation within fourteen (14) days from the date of its service will result
in waiver by that party of the right to make objections to the Report and
Recommendation. 28 U.S.C. § 636(b) (1) (B). The Report and Recommendation was served
this date by delivery of a copy thereof to counsel for the government and defendant
in open court.




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